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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :      No. 1:21-cr-175 (TJK)
          v.                                 :
                                             :
                                             :
ETHAN NORDEAN, et. al.,                      :
                                             :
                      Defendants.            :

GOVERNMENT’S UNOPPOSED MOTION TO CONTINUE DEADLINE FOR FILINGS
            REGARDING SCOPE OF CROSS-EXAMINATION


       At a hearing on March 9, 2023, the Court ordered the parties to file any additional briefing

on the issue of the scope of Agent Miller’s cross by 5:00 p.m. on March 10, 2023. As the Court

knows, the government is in the process of conducting a classification review of the material

originally provided to the defense and determining whether any additional messages should be

produced pursuant to 18 U.S.C. § 3500. On March 10, 2023, at approximately 1:45 p.m., the

government reproduced to the defense the original messages it produced, with any classified or

sensitive materials removed, along with a second document that supplies the requested context for

the five areas of messages identified by Nordean, which contained only messages from senders

other than Agent Miller in the original production. Later today, the government will provide a

revised Jencks production, culled from the original messages provided to Agent Miller by FBI

Headquarters.

       Given that posture, the government submits that it would be most beneficial to the Court

to allow the parties to digest and reflect on the entirety of these productions before filing the

Court’s requested briefing. Accordingly, the government requests that the Court extend the

deadline for any briefing regarding the scope of Special Agent Miller’s cross-examination from
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5:00 p.m. on March 10, 2023, to 12:00 p.m. on March 12, 2023. Undersigned counsel is cognizant

that this leaves the Court with less time to review than it had previously expected, but we believe

that giving the Court the benefit of the parties’ review of the government’s productions will

ultimately promote judicial economy.

       Undersigned counsel has conferred with counsel for the defendants regarding this motion,

and counsel for defendants Nordean, Rehl, Tarrio, and Biggs indicated that they do not oppose the

government’s request. The government was unable to ascertain defendant Pezzola’s position

within the limited timeframe between when the government sought his position and when the

government filed this motion.




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                                        CONCLUSION

       For the foregoing reasons, the government requests that the Court enter an order extending

the deadline for filings related to the scope of Special Agent Miller’s cross-examination from 5:00

p.m. on March 10, 2023, to 12:00 p.m. on March 12, 2023.

                                             Respectfully Submitted,
                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:     _/s/ Erik M. Kenerson __________
                                              ERIK M. KENERSON // Ohio Bar No. 82960
                                              JASON B.A. MCCULLOUGH
                                                NY Bar No. 4544953
                                             NADIA E. MOORE // N.Y. Bar No. 4826566
                                               On Detail to the District of Columbia
                                             Assistant United States Attorneys
                                             601 D Street NW
                                             Washington, D.C. 20530
                                             (202) 252-7201
                                             Erik.Kenerson@usdoj.gov

                                             _/s/ Conor Mulroe_______________
                                             Conor Mulroe // N.Y. Bar No. 5289640
                                            Trial Attorney // U.S. Department of Justice,
                                              Criminal Division
                                            1301 New York Avenue, Suite 700
                                            (202) 330-1788
                                            conor.mulroe@usdoj.gov




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